                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )   CASE NO. 3:21-CR-59
                                                  )
ANDREW MALCOLM LOVETT                             )

                           ORDER ON MOTION TO ACCEPT
                      EARLY PAYMENT OF MONETARY PENALTIES

       THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion To Accept

Early Payment of Monetary Penalties” (Doc. No. 32). The Court finds good cause to grant the

requested relief.

       IT IS THEREFORE ORDERED that the Clerk of Court shall accept prepayment of the

monetary penalties in this matter in any amount and deposit funds in the non-interest Treasury

Registry Fund until entry of Judgment. Upon entry of the Judgment, the Clerk will transfer the

funds from the Treasury Registry Fund to the Restitution Fund and distribute the funds in

accordance with the terms of the Judgment without further order of this Court.

       IT IS FURTHER ORDERED that the government shall serve a copy of this Order upon

the Clerk or the Financial Deputy Clerk.

       SO ORDERED.

                                    Signed: October 20, 2021




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